          Case: 1:23-cv-04708 Document #: 20 Filed: 01/02/24 Page 1 of 2 PageID #:65




                                    UNITED STATES DISTRICT COURT
1
                                    NORTHERN DISTRICT OF ILLINOIS
2                                         EASTERN DIVISION

3
     TAYLOR D. PENDLETON, an individual,            )
4                                                   )      Case No.: 1:23-cv-04708
                    Plaintiff,                      )
5                                                   )      CLERK’S ENTRY OF RULE 55(a) DEFAULT
                                                    )      UPON DEFENDANT PROPELR MUSIC, LLC
6
     vs.                                            )      AND MARRIANI RECORDS
                                                    )
7    10Q LLC, a California Limited Liability        )
     Company; PROPELR MUSIC, LLC, an Illinois )
8                                                   )
     Limited Liability Company; MARRIANI            )
9    RECORDS, an Illinois corporation; ANTOINE )
     REED p/k/a “Sir Michael Rocks,” an individual; )
10   and DOES 1 through 100, inclusive              )
                                                    )
11                  Defendants.                     )
                                                    )
12                                                  )

13
            NOW COMES Plaintiff, TAYLOR D. PENDLETON (“Plaintiff”), by and through undersigned
14
     counsel, who with the corresponding and attached Declaration, and pursuant to the expressly clear
15

16   mandate in Federal Rule of Civil Procedure Rule 55(a), hereby moves and requests that the Clerk now
17   and therefore enter Default upon Defendants: PROPELR MUSIC, LLC (“Propelr”) and MARRIANI
18
     RECORDS (“Marriani”) (collectively, the “Defendants”), on the basis that the record in this case does not
19
     clearly confirm that the Defendants have filed any appearances herein, or have caused any attorney to file
20

21
     any appearances herein, let alone file any answers, responses, or to otherwise plead or defend against this

22   matter in any manner, or kind, or sort whatsoever within the time provided by the law, and that it is now
23
     well past the time allowed. See [DE 13, 14].
24

25
     CLERK: PLEASE NOTE THAT THIS DUTY IS MANDATORY UPON THE CLERK’S OFFICE,
26

27   AS FOR REQURED ENTRY OF A RULE 55(a) “DEFAULT” BY THE CLERK (as a party’s pure

28   procedural Default, not as entering any Default Judgment for any sum certain under Rule 55(b), as which



                                        MOTION/REQUEST FOR DEFAULT - 1
          Case: 1:23-cv-04708 Document #: 20 Filed: 01/02/24 Page 2 of 2 PageID #:66




     Rule 55(a) does clearly command: “when a party against whom a judgment for affirmative relief is sought
1

2    has failed to plead or otherwise defend, and that failure is shown by affidavit or otherwise, the clerk must

3    enter the party’s default.”) Fed. R. Civ. P. Rule 55(a) (emphasis added).
4

5    DATED this 2nd day of January 2024.

6

7
     Respectfully submitted,
                                                   THE LAW OFFICE OF KRISTINA T. WILSON, P.C.
8

9                                                                                   /s Kristina T. Wilson, Esq.
10
                                                                                       Kristina T. Wilson, Esq.
                                                                                          Attorney for Plaintiff
11                                                                                            645 W. 9th Street
                                                                                                Unit # 110-376
12
                                                                                Los Angeles, California 90015
13                                                                                 Telephone: (323) 537-7795
                                                                                           CA Bar No. 330475
14                                                                       Email: Wilson@KTWilsonLaw.com
                                                                 Secondary Email: KTWilsonLaw@gmail.com
15
                                                                 Attorneys for Plaintiff, Taylor D. Pendleton
16

17
                                           CERTIFICATE OF SERVICE
18

19          Plaintiffs hereby certify that on this 2nd day of January 2024, a true and complete copy of the above

20   formal request for the clerk’s Rule 55(a) entry of default was duly served on all parties and counsel of
21
     record, who have entered appearances in this action via the Courts CM/ECF filing system.
22

23

24
                                                   THE LAW OFFICE OF KRISTINA T. WILSON, P.C.

25
                                                                                     /s Kristina T. Wilson, Esq.
26                                                                                      Kristina T. Wilson, Esq.
27

28




                                        MOTION/REQUEST FOR DEFAULT - 2
